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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

RICHARD M. DAUVAL, Trustee for
the Estate of TONY H. ULRICH and
TAMMY L. ULRICH,                                            Case No.: 8:16-cv-00393-SCB-JSS

        Plaintiff,
v.

SYNCHRONY BANK,
f/k/a GE CAPITAL RETAIL BANK,
a foreign for-profit corporation,

      Defendant.
___________________________________/

                          NOTICE OF PENDING SETTLEMENT

        COMES NOW, Plaintiff, RICHARD M. DAUVAL, Trustee for the Estate of TONY H.

ULRICH and TAMMY L. ULRICH (hereinafter “Plaintiff”), by and through the undersigned

counsel pursuant to Local Rule 3.08, Middle District of Florida, and hereby submits this Notice

of Pending Settlement and states:

        1.      Plaintiff and Defendant, SYNCHRONY BANK, f/k/a GE CAPITAL RETAIL

BANK (hereinafter “Defendant”), reached a settlement with regard to all claims in this case, and

the parties are presently drafting, finalizing, and executing a written settlement agreement and

release of liability.

        2.      Upon execution of a mutually-agreeable settlement agreement and release—and

compliance with its terms—undersigned counsel will execute and file a Notice of Settlement and

Stipulation for Dismissal with Prejudice.
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       3.      To the extent this Court treats the foregoing as a Motion, pursuant to Middle

District of Florida Local Rule 3.01(g), the undersigned certifies he consulted with Defendant's

counsel, and Defendant agrees to the relief sought herein.

       Submitted this 26th day of October 2016.

                                             Respectfully submitted,
                                             LEAVENLAW

                                             /s/ Aaron M. Swift
                                             Ian R. Leavengood, Esq., FBN 010167
                                             Aaron M. Swift, Esq., FBN 093088
                                             Gregory H. Lercher, Esq., FBN 106991
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                                             Attorneys for Plaintiff

                                CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that I electronically served a copy of the foregoing Notice of

Pending Settlement this 26th day of October 2016 to:

       Lauren A. Marsicano, Esq.
       Liebler, Gonzalez & Portuondo
       Courthouse Tower, 25th Floor
       44 West Flagler Street
       Miami, FL 33130
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       Attorney for Defendant


                                             /s/ Aaron M. Swift
                                             Attorney
